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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-0806V
                                      Filed: July 23, 2019
                                        UNPUBLISHED


    GORDON ERNST,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Damages Decision Based on Proffer;
    SECRETARY OF HEALTH AND                                  Influenza (Flu) Vaccine; Guillain-
    HUMAN SERVICES,                                          Barre Syndrome (GBS)

                       Respondent.


Joseph Alexander Vuckovich, Maglio Christopher & Toale, PA, Washington, DC, for
petitioner.
Althea Walker Davis, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On June 7, 2018, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered Guillain-Barre Syndrome (“GBS”) as a result
of an influenza (“flu”) vaccination administered on November 23, 2016. Petition at 1-2.
The case was assigned to the Special Processing Unit of the Office of Special Masters.

     On April 23, 2019, a ruling on entitlement was issued, finding petitioner entitled to
compensation for GBS. On July 22, 2019, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioner should be awarded $100,000.00. Proffer

1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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at 1. In the Proffer, respondent represented that petitioner agrees with the proffered
award. Id. Based on the record as a whole, the undersigned finds that petitioner is
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $100,000.00 in the form of a check payable to
petitioner, Gordon Ernst. This amount represents compensation for all damages that
would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

GORDON ERNST,                               )
                                            )
                Petitioner,                 )       No. 18-806V
                                            )       Chief Special Master
       v.                                   )       Nora Beth Dorsey
                                            )       SPU
SECRETARY OF HEALTH                         )
AND HUMAN SERVICES,                         )
                                            )
                Respondent.                 )
                                            )

              RESPONDENT'S PROFFER ON AWARD OF COMPENSATION

       On June 7, 2018, Gordon Ernst (“petitioner”) filed a petition for compensation

(“Petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -

34 (“Vaccine Act” or “Act”), as amended. Respondent conceded petitioner’s entitlement to

compensation in his Rule 4(c) Report filed on April 22, 2019. Based on Respondent’s Rule 4(c)

Report, on April 23, 2019, Chief Special Master Dorsey found petitioner entitled to

compensation.

I.    Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$100,000.00, which represents all elements of compensation to which petitioner would be

entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.




                                                1
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II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $100,000.00 in the form of a check payable to petitioner. 1

Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                     Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     C. SALVATORE D’ALESSIO
                                                     Acting Director
                                                     Torts Branch, Civil Division

                                                     CATHARINE E. REEVES
                                                     Deputy Director
                                                     Torts Branch, Civil Division

                                                     ALEXIS B. BABCOCK
                                                     Assistant Director
                                                     Torts Branch, Civil Division

                                                      s/Althea Walker Davis
                                                     ALTHEA WALKER DAVIS
                                                     Senior Trial Counsel
                                                     Torts Branch, Civil Division
                                                     U.S. Department of Justice
                                                     P.O. Box 146
                                                     Benjamin Franklin Station
                                                     Washington, D.C. 20044-0146
                                                     Tel: (202) 616-0515

DATED: 22 July 2019




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.

                                                 2
